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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

ROBERT BARRON                                    :
                                                 :
               Plaintiff,                        :   NOTICE OF REMOVAL FROM
                                                 :   THE CIRCUIT COURT FOR
v.                                               :   ANNE ARUNDEL COUNTY, MD
                                                 :   Case No.: C-02-CV-21-001018
J & H TRUCKING LLC                               :
(d/b/a J&H Trucking Co. LLC), et al.             :   CIVIL ACTION NO.___________
                                                 :
               Defendants.                       :

                                  PETITION FOR REMOVAL

       Pursuant to 28 U.S.C., §§Section 1332, 1441, and 1446, the Defendant, J & H Trucking LLC

(d/b/a J&H Trucking Co., LLC), respectively notices the removal of the above-captioned matter to

this Honorable Court from the Circuit Court for Anne Arundel County, Maryland, and as grounds

therefor states as follows:

       1.      On or about July 29, 2021, Plaintiff, Robert Barron, commenced the above captioned

civil action by filing a Complaint in the Circuit Court for Anne Arundel County, Maryland as Case

No. C-02-CV-21-001018 against Defendant, J & H Trucking LLC (d/b/a J&H Trucking Co., LLC).

A true and correct copy of Plaintiff’s Summons and Complaint is appended hereto as Exhibit A.

       2.      Pursuant to the Federal Rules of Civil Procedure, the Petitioner filed a written

Notice of Removal on or about May 9, 2022. A copy of Defendant’s Notice of Removal is attached

hereto and incorporated herein by reference as Exhibit B.

       3.      Defendant’s Notice of Removal is timely as it is being filed within one year of the

commencement of the action and Plaintiff has not effectuated service of process upon Defendant,

J & H Trucking LLC (d/b/a J&H Trucking Co., LLC).
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       4.      In his Complaint, Plaintiff, Robert Barron, seeks judgment against this Defendant in

an amount in excess of Seventy-Five Thousand Dollars ($75,000.00) in compensatory damages, plus

interest and costs.

       5.      Plaintiff is a resident of the State of Maryland.

       6.      At the time of commencement of this action, and at all other times relevant to the

subject proceeding, Defendant, J & H Trucking LLC (d/b/a J&H Trucking Co., LLC) is a New Jersey

limited liability company with its principal place of business is New Jersey.

       7.      Defendant, Luis Ramierez-Genao, is a resident of the State of New Jersey.

       8.      As this is a civil action wherein the amount in controversy exceeds $75,000,

exclusive of interest and costs, this Honorable Court has diversity of jurisdiction over this matter

pursuant to 28 U.S.C., Section 1332.

       9.      The Petitioners present and files herewith a check in the amount of $402.00 for the

filing fee, as required by law.

       WHEREFORE, the Defendant, J & H Trucking LLC (d/b/a J&H Trucking Co., LLC),

respectfully requests to remove this action from the Circuit Court for Anne Arundel County,

Maryland, to the United States District Court for the District of Maryland.




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                                                           Respectfully submitted,

                                                           DeCARO, DORAN, SICILIANO,
                                                           GALLAGHER & DeBLASIS, LLP


                                                      By:/s/Jennifer A. King
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                                                         jking@decarodoran.com
                                                         Counsel for Defendant,
                                                         J & H Trucking LLC
                                                         (d/b/a J&H Trucking Co., LLC)

                                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 9th day of May, 2022, a copy of the foregoing Petition
for Removal was electronically filed and served upon:

John J. Cord, Esquire
Posner & Cord, LLC
108 W. Timonium Road
Suite 303
Timonium, Maryland 21093
Counsel for Plaintiff


                                                           /s/Jennifer A. King
                                                           Jennifer A. King, #17248



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